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Charles D. Colett, OSB #79191
chuck@colettlaw.com
COLETT LAW GROUP, LLP
1 Lincoln Center
10300 S.W. Greenburg Road, Suite 310
Portland, OR 97223-5489
Tel: (503) 598-3411
Fax: (503) 598-4646

Attorney for Plaintiffs Oregon Laborers-Employers Trust Funds, et al.



                               UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

                                       PORTLAND DIVISION



 OREGON LABORERS-EMPLOYERS                                  Case No.
 HEALTH & WELFARE TRUST FUND;
 OREGON LABORERS-EMPLOYERS                                  COMPLAINT
 PENSION TRUST FUND; OREGON &
 SOUTHERN IDAHO LABORERS-                                   Action for Fringe Benefits and Accounting
 EMPLOYERS TRAINING TRUST FUND;
 and OREGON LABORERS-EMPLOYERS                              (29 USC § 1132 and §1145, and 29 USC §
 ADMINISTRATIVE FUND, LLC,                                  185(a))

         Plaintiffs,

                 v.

 TBH & ASSOCIATES, LLC, a foreign
 business corporation,

         Defendant

Plaintiffs, for claim for relief, allege as follows:

                                            FIRST COUNT

                                                       1.

        Jurisdiction is vested in this Court over this action by the provisions of the Employee
Retirement Income Security Act of 1974 (ERISA) at 29 USC § 1132 and § 1145; and § 301(a) of


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the Labor Management Relations Act of 1947 (LMRA) at 29 USC § 185(a).

                                                 2.

       That at all times herein mentioned, the Plaintiffs were and are collective express Trusts in

writing, pursuant to 29 USC § 186, known as the Oregon Laborers-Employers Health & Welfare

Trust Fund (Health & Welfare Trust), the Oregon Laborers-Employers Pension Trust Fund

(Pension Trust), the Oregon & Southern Idaho Laborers-Employers Training Trust Fund (Training

Trust Fund), and the Oregon Laborers-Employers Administrative Fund, LLC (Administrative

Fund). Plaintiffs are known collectively as the Oregon Laborers-Employers Trust Funds, which

Trusts administer contributions by employers for medical care, pension, hospital care, training,

and related needs of employees. Plaintiffs’ principal office is in Portland, Multnomah County,

Oregon, and venue for all claims for relief or proceedings involving the Trust Funds is in

Multnomah County, Oregon. The Oregon Laborers-Employers Administrative Fund, LLC is the

collection fund designated to collect contributions and dues for the Trusts and union affiliates.

                                                 3.

       That Defendant TBH & Associates, LLC is a Washington limited liability business

corporation authorized and registered to do business in the State of Oregon.

                                                 4.

       That during all of the times herein mentioned, Defendant was bound to make required
contributions to the Trusts and did make certain payments thereto.

                                                 5.

       That in the processing of the payments and as part of the Plaintiffs’ duties herein, a

review of remittance reports that Defendant submitted indicate that a substantial delinquency

exists for non-payment of fringe benefit and other contributions to Plaintiffs.

                                                 6.

       Demand has been made for payment of the delinquency and there is wholly due, owing,

and unpaid to the Plaintiffs the amount of $23,561.55 in contributions comprising delinquent
contributions for September 2017 through April 2018, plus additional contributions due to date


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for amounts for post-April 2018 contributions.

                                                 7.

       That in addition to the basic contributions required to be made, the applicable written

Agreements between the parties and 29 USC § 1132 provide for liquidated damages, interest,

and audit fees to be assessed for any delinquent contributions found to be due and owing.

Defendant is indebted to Plaintiffs for liquidated damages in the amount of $2,429.65, interest in

the amount of $890.68, and audit fees. These liquidated damages and interest amounts are due

for late payments over the last year plus amounts for unpaid contributions to date. These amounts

are calculated pursuant to the statute and Trust Agreements as twelve percent (12%) per annum

interest and twelve percent (12%) per annum liquidated damages for each late payment.

                                                 8.

       That the indicated Agreements and 29 USC § 1132 provide for a reasonable sum to be

awarded Plaintiffs as attorney’s fees for the prosecution of this action against Defendant.

Plaintiffs request a reasonable sum be awarded to Plaintiffs as attorney’s fees.

                                        SECOND COUNT

                                                 9.

       Plaintiffs reallege Paragraphs 1, 2, 3, 4, 7 and 8 of their First Count.

                                                 10.
       That during all of the times herein mentioned, Defendant was bound to make required

contributions to the Trusts and did make certain payments. That Defendant, on and from 2016

through the present date, had in its employ, employees for whom contributions to the Trust

Funds were to be made.
                                                 11.

       Defendant has failed to make the contributions required by the Labor Agreement for their

employees employed during the term of the Agreement. Defendant has failed to report to

Plaintiffs the number of employees and the amount of required contributions. The amount of all
contributions owed by Defendant to Plaintiffs is unknown to Plaintiffs and cannot be ascertained


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without a complete accounting, which is long and complicated.

                                                 12.

       Plaintiffs request that an accounting by Defendant be ordered for the period from January

1, 2016 through the present date, for any and all contributions due from Defendant to Plaintiffs

by virtue of the Labor Agreement. After a complete account has been made, Plaintiffs request a

Decree be entered against Defendant for any amount due, with interest thereon, together with

liquidated damages and reasonable attorney’s fees as provided for in the Labor Agreement, Trust

Agreement and appropriate law.

       WHEREFORE, Plaintiffs pray as follows:

                                           COUNT ONE

       1.      $23,561.55, plus additional contributions to date;

       2.      Interest on the above sum from September 20, 2017 in the amount of $890.68 plus

               interest until paid;

       3.      Liquidated damages in the amount of $2,429.65 and an audit fee and additional

               interest on all late contributions paid and those remaining unpaid;

       4.      Interest and liquidated damages for each late payment received over the last year

               per the Trust Agreement and based on an accounting;

       5.      Reasonable attorney’s fees;
       6.      Plaintiffs’ costs necessarily incurred.

                                          COUNT TWO

       1.      A Decree compelling Defendant to make a complete accounting to Plaintiffs of all

               contributions due from Defendant to Plaintiffs from January 1, 2016, to the

               present;

       2.      After a complete accounting has been made, entry of Judgment against Defendant

               for any amounts due to Plaintiffs for Trust contributions;

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       3.      For interest on any contributions from their due date, together with attorney’s

               fees, liquidated damages, and Plaintiffs’ costs and disbursements;

       4.      For such other relief as may seem just and equitable in the premises.



                                                     COLETT LAW GROUP, LLP

Dated: June 5, 2018                                  s/ Charles D. Colett
                                                     Charles D. Colett, OSB 791916
                                                     Attorney for Plaintiffs




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